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 Fill in this information to identify the case:

 Debtor name         S & S Heavy Haul, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $4,054,300.00
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $11,542,057.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                              $8,164,144.00
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       For year before that:
       From 1/01/2016 to 12/31/2016                                                            Interest Income                                              $58.12


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
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 Debtor       S & S Heavy Haul, LLC                                                                     Case number (if known)



       Creditor's Name and Address                                            Dates              Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attachment 3                                                                                                   Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                             Dates              Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attachment 4


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    COS, LLC dba Castle Oilfield                      Collection                 District Court of Williams                 Pending
               Services v. S&S Heavy Haul                                                   County                                     On appeal
               Corporation dba S&S Heavy                                                    North Dakota
               Haul                                                                         205 E. Broadway
                                                                                                                                         Concluded
               Case No. 53-2017-CV-01437                                                    Williston, ND 58801




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 Debtor       S & S Heavy Haul, LLC                                                                         Case number (if known)



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.2.    Federal Railroad Administration                   FRA Violations               Federal Railroad                            Pending
               v. S & S Heavy Haul, LLC                                                       Administration                            On appeal
               ZSHV 2017-1(HMT) and ZSHV                                                      United States Dept. of
                                                                                                                                        Concluded
               2017-2(HMT)                                                                    Transportation
                                                                                              1200 New Jersey Avenue,
                                                                                              S.E.
                                                                                              W33-417
                                                                                              Washington, DC 20590


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss            Value of property
       how the loss occurred                                                                                                                                      lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       A motor vehicle accident damaged a                        N/A                                                        06/17                         $109,749.72
       tractor and trailer.
       The Debtor has submitted an
       insurance claim to Great West
       Casualty Company.

       Fuel stolen by former employee                            N/A                                                        01/01/17 -                        $3,216.82
                                                                                                                            05/20/18


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




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 Debtor        S & S Heavy Haul, LLC                                                                     Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.                                                                                                                   05/22/18 -
                                                                                                                               $6,000 from
                                                                                                                               HF Holdco,
                                                                                                                               LLC
                                                                     $30,000 flat fee for preparing and filing this            05/23/18 -
                 Porter Hedges LLP                                   Chapter 7 bankruptcy case and the related                 $24,000
                 1000 Main Street, 36th Floor                        cases of HF Holdco, LLC and HudsonField                   from the
                 Houston, TX 77002                                   Administration, LLC.                                      Debtor               $30,000.00

                 Email or website address
                 porterhedges.com

                 Who made the payment, if not debtor?
                 The Debtor and HF Holdco, LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     3600 E. Hyrum Drive                                                                                       Unknown
                 Idaho Falls, ID 83401-1710

       14.2.     8 Glenwood Avenue                                                                                         2016 - 02/18
                 Luverne, AL 36049

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

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 Debtor      S & S Heavy Haul, LLC                                                                      Case number (if known)




                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
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 Debtor      S & S Heavy Haul, LLC                                                                      Case number (if known)



      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address
       N/A                                                           Federal Railroad                         FRA Violations - ZSHV
                                                                     Administration                           2017-1(HMT) and ZSHV
                                                                     Attn: Brian Roberts                      2017-2(HMT)
                                                                     1200 New Jersey Avenue, S.E.
                                                                     W33-417
                                                                     Washington, DC 20590


24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Brittany Day                                                                                                               03/16/18 - Present
                    8108 NW 31st Street
                    Bethany, OK 73008



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 Debtor      S & S Heavy Haul, LLC                                                                      Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.2.       Jennifer Armstrong                                                                                                   0807/17 - 03/16/18
                    406 Montezuma Street
                    Andalusia, AL 36421

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Marcus E. Garett, CPA                                                                                                10/19/16 - Present
                    J F Shirley, Inc.
                    1223 South Brundidge Street
                    Troy, AL 36081
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Trevor E. Bates                                                                                                      00/12 - 03/17
                    7292 Culebra Rio Circle
                    Idaho Falls, ID 83401

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Marcus E. Garett, CPA
                    J F Shirley, Inc.
                    1223 South Brundidge Street
                    Troy, AL 36081

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       HudsonField Transportation                     700 Louisiana Street, Suite 3950                    Manager and Member                    49.8%
       LLC                                            Houston, TX 77002

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Tim Anderson                                   9th Street Group, LLC                               Member                                7%
                                                      1941 Johns Drive
                                                      Glenview, IL 60025
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 Debtor      S & S Heavy Haul, LLC                                                                      Case number (if known)



       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Benjamin Freeman                               25 Broadway, 9th Floor                              Chief Restructuring Officer       N/A
                                                      New York, NY 10004                                  Manager

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       SSHH Holdings Corporation                      1689 Glenwood Road                                  Member                            43.2%
                                                      Luverne, AL 36049

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Steven D. Sill                                 3600 E. Hyrum                                       Manager                           N/A
                                                      Idaho Falls, ID 83401

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Trevor E. Bates                                7292 Culebra Rio Circle                             Manager                           N/A
                                                      Idaho Falls, ID 83401

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Dustin Marchand                                1689 Glenwood Road                                  Manager                           N/A
                                                      Luverne, AL 36049



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Trevor E. Bates                                7292 Culebra Rio Circle                             President                     Unknown - March,
                                                      Idaho Falls, ID 83401                                                             2018

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Dustin Marchand                                1689 Glenwood Road                                  Chief Executive Officer       Chief Executive
                                                      Luverne, AL 36049                                                                 Officer
                                                                                                                                        Unknown -
                                                                                                                                        November, 2017
       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Steven D. Sill                                 3600 E. Hyrum                                       President                     Unknown -
                                                      Idaho Falls, ID 83401                                                             November 2017


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.




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 Debtor      S & S Heavy Haul, LLC                                                                      Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Statement of Financial
       .    Affairs 4


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 18, 2018

                                                                        Benjamin Freeman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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Payments During 90 Days > 6425
SSHH
04/30/18
                                                    Secured    Unsecured   Suppliers/
Name                                   CY 2018         Debt         Debt     Vendors      Services       Other    Description                      Pymt Dates
Wex Inc                              289,982.15                            289,982.15                             Fuel                            Monday - Friday (Feb 1st - Apr 30)
BD Haulin                            189,374.10                                         189,374.10                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Tab Bank                              81,988.85                                          22,575.48    59,413.37   Redirected customer payments     03.02.18
Metrix Capital Group, LLC             79,375.01    79,375.01                                                      Financing Charges               03.01, 03.12, 03.20, 04.03, 04.17, 04.23
All Time Freight                      73,770.20                                          73,770.20                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
River Rail Develoopment, LLC          71,400.00                                                       71,400.00   Rent                            02.06, 03.20, 03.21, 04.13
United Superior Logistics             62,518.59                                          62,518.59                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Wingspan LLC                          57,732.81                                          57,732.81                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Koenig Transport                      54,644.19                                          54,644.19                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Hub International                     35,263.13                                                       35,263.13   Insurance                       02.06, 03.09, 03.12, 04.20, 04.24
Kohrt Transportation                  34,153.85                                          34,153.85                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
BankDirect Capital Finance            33,807.23    33,807.23                                                      Insurance                        02.09, 03.09, 04.16
JLC Trucking                          33,247.58                                          33,247.58                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
William B Ketchum                     27,955.55                                          27,955.55                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Timothy J. Pileggi                    21,856.16                                          20,000.00     1,856.16   Expense Reimbursements           03.08, 03.23, 03.30, 04.06, 04.13
Trail Enterprises                     19,500.00                                                       19,500.00   Rent                             02.06, 03.19, 04.13
Lone Star Crude                       17,957.82    17,957.82                                                      Lease payments                   03.09.18
Kenworth Sales                        16,562.00    16,562.00                                                      Lease payments                   02.22.18
Ohio Bureau of Worker's Comp          16,384.00                                                       16,384.00   Workers Compensation             03.12.18
MHC Kenworth - Oklahome City          16,228.53                             16,228.53                             Repairs and Maintenance          02.01, 03.09, 03.30, 04.23
Key Equipment Finance                 11,992.88    11,992.88                                                      Loan - Key equipment             02.23.18
Fleetpride Truck & Trailer Parts      11,239.35                             11,239.35                             Equipment Supplies               04.04, 04.09, 04.23
Steubenville Truck Center             10,441.91                             10,441.91                             Repairs and Maintenance          03.05, 03.09, 04.23
Rush Truck Center                     10,085.00                             10,085.00                             Shop Supplies and Maintenance    02.26, 03.05, 03.09, 03.20, 03.23, 04.02, 04.10, 04.13, 04.23
T&W Tire                              10,000.00                             10,000.00                             Tires                            02.26, 03.19, 03.23, 04.09, 04.23
Truck Enterprises, INC.               10,000.00                             10,000.00                             Shop Supplies and Maintenance    02.28.18
Montash Logistics Inc.                 9,299.85                              9,299.85                             IC Subcontractor                02.02, 02.21
Daimler Truck Financial                8,525.46     8,525.46                                                      Loan                             02.06, 02.22. 04.04
Pedal Down Trucking                    8,346.33                                           8,346.33                IC Subcontractor                02.02, 02.16, 02.21, 03.02, 03.16, 03.30, 04.13, 04.27
Porter Hedges LLP                      8,000.00                                           8,000.00                Legal expenses                   02.21.18
TanMar                                 7,500.00                                                        7,500.00   Rent                             03.05, 03.09, 03.19, 03.23, 04.02, 04.10, 04.23
Bulk Carriers Service, Inc.            7,443.92                              7,443.92                             Repairs and Maintenance          02.16, 03.05, 03.26, 04.09
P.H. Delivery Service                  6,468.58          -           -            -       6,468.58          -     IC Subcontractor                03.30, 04.13, 04.27
Totals                             1,353,045.03   168,220.40         -     374,720.71   598,787.26   211,316.66
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PAYMENTS TO INSIDERS                                               S S HEAVY HAUL, LLC
                                                           STATEMENT OF FINANCIAL AFFAIRS NO. 4
Ben Freeman - Chief Restructuring Officer

                                                 Total Payments       Restructuring Services Exp Reimbursement

02/16/2018 Ben Freeman LLC   Accounts Payable             -4,807.69               -4,807.69
02/23/2018 Ben Freeman LLC   Accounts Payable             -5,211.85               -4,807.69                  -404.16
03/02/2018 Ben Freeman LLC   Accounts Payable             -4,807.69               -4,807.69
03/09/2018 Ben Freeman LLC   Accounts Payable             -6,192.91               -4,807.69                -1,385.22
03/16/2018 Ben Freeman LLC   Accounts Payable             -4,807.69               -4,807.69
03/16/2018 Ben Freeman LLC   Accounts Payable             -9,829.72                                        -9,829.72
03/19/2018 Ben Freeman LLC   Professional Fees            -3,713.54               -3,713.54
03/23/2018 Ben Freeman LLC   Accounts Payable             -5,469.05               -4,807.69
03/30/2018 Ben Freeman LLC   Accounts Payable            -11,711.20               -4,807.69                -6,903.51
04/06/2018 Ben Freeman LLC   Accounts Payable             -9,912.98               -4,807.69                -5,105.29
04/13/2018 Ben Freeman LLC   Accounts Payable             -8,350.23               -4,807.69                -3,542.54
04/27/2018 Ben Freeman LLC   Accounts Payable             -7,637.34               -4,807.69                -2,829.65
05/11/2018 Ben Freeman LLC   Accounts Payable             -5,912.09               -4,807.69                -1,104.40


                                                       -88,363.98             -56,598.13               -31,765.85
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PAYMENTS TO INSIDERS                                               S S HEAVY HAUL, LLC
                                                           STATEMENT OF FINANCIAL AFFAIRS NO. 4
Former President
                                                                                   Total Payments   Loans                Exp Reimbursement       Salary

 07/27/2017          Sill, Steven D                        Loan - Steve Sill           -30,000.00           -30,000.00
 08/08/2017          Steve Sill                            Loan - Steve Sill           -10,000.00           -10,000.00
 08/17/2017          Steve Sill                            Loan - Steve Sill           -10,000.00           -10,000.00
 08/21/2017 WIRE     Steve Sill                            Loan - Steve Sill           -10,000.00           -10,000.00
 08/25/2017          Steve Sill                            Loan - Steve Sill           -10,000.00           -10,000.00
 09/08/2017          Sill, Steven D 001                    Repairs & Maintenance          -400.00                                     -400.00
 09/18/2017          Sill, Steven D 001                    Repairs & Maintenance        -1,000.00                                    -1,000.00
 09/27/2017          Sill, Steven D 001                    Loan - Steve Sill           -30,000.00           -30,000.00
 10/23/2017          Steve Sill                            Repairs & Maintenance        -1,500.00                                    -1,500.00
 11/16/2017          Steve Sill                            Loan - Steve Sill            -4,816.00            -4,816.00
 03/14/2018 Wire     Steve Sill       AMEX Reimbursement   Loan - Steve Sill            -5,000.00            -5,000.00
 03/23/2018          Steve Sill                            Suspense                     -5,000.00            -5,000.00
 04/13/2018 010130   Steve Sill                            Loan - Steve Sill           -10,000.00           -10,000.00
6/1/2017-12/5/2017   Steve Sill                            Salary                      -52,235.72                                                   -52,235.72


                                                                                   -179,951.72         -124,816.00                 -2,900.00 -52,235.72
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PAYMENTS TO INSIDERS                                                   S S HEAVY HAUL, LLC
                                                               STATEMENT OF FINANCIAL AFFAIRS NO. 4
Former CEO
                                                                                                   Total Payments   Salary               Loans                Exp Reim
 06/02/2017      Marchand, Dustin T                                       Travel Allowance             -2,150.00                                                     -2,150.00
 06/06/2017 1714 Dustin Marchand                                          Manager Wages                -3,500.00             -3,500.00
 07/05/2017 1324 Marchand, Dustin T Travel Expense                        Travel Expense               -2,000.00                                                     -2,000.00
 07/27/2017 1856 Dustin Marchand                                          Tolls & Parking               -427.00                                                          -427.00
 08/08/2017 1414 Dustin Marchand                                          Employee Advances            -2,316.40                                  -2,316.40
 08/25/2017      Marchand, Dustin T                                       Loan - Dustin Marchand     -10,000.00                                  -10,000.00
 09/26/2017      Marchand, Dustin T Pre Paid Funding                      Repairs & Maintenance         -500.00                                                          -500.00
 10/04/2017      Marchand, Dustin T Pre Paid Card                         Travel Expense               -1,500.00                                                     -1,500.00
 10/06/2017      Marchand, Dustin T                                       Repairs & Maintenance        -1,000.00                                                     -1,000.00
 10/17/2017 1471 Marchand, Dustin T                                       -SPLIT-                      -1,107.55                                                     -1,107.55
 10/24/2017      Marchand, Dustin T                                       Repairs & Maintenance        -1,100.00                                                     -1,100.00
 11/10/2017      Marchand, Dustin T                                       Repairs & Maintenance         -500.00                                                          -500.00
 11/22/2017 1984 Marchand, Dustin T                                       Travel Expense                -281.60                                                          -281.60
                                      Apply to Loan Company owes Dustin
 11/29/2017      Dustin Marchand      Marchand per DM                     Loan - Dustin Marchand       -5,000.00                                  -5,000.00


                                                                                                   -31,382.55            -3,500.00         -17,316.40             -10,566.15
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PAYMENTS TO INSIDERS                                                       S S HEAVY HAUL, LLC
                                                                   STATEMENT OF FINANCIAL AFFAIRS NO. 4
Former President
                                                                                                      Total Payments   Loans                Salary
 08/07/2017 Trevor Bates             Business to Business ACH AG Adjustments Loan - Trevor Bates           -4,000.00            -4,000.00
 08/08/2017 Trevor Bates                                                      Loan - Trevor Bates 2       -15,620.10           -15,620.10
 08/17/2017 Trevor Bates             Treaver Bates                            Loan - Trevor Bates          -3,600.00            -3,600.00
 08/23/2017 Trevor Bates                                                      -SPLIT-                     -15,600.00           -15,600.00
 08/25/2017 Trevor Bates                                                      Loan - Trevor Bates          -3,619.92            -3,619.92
 10/05/2017 Trevor Bates                                                      Loan - Trevor Bates          -4,800.00            -4,800.00
 10/20/2017 Trevor Bates             Trevor Bates ~ Trailers                  Loan - Trevor Bates         -16,303.27           -16,303.27
 11/06/2017 Trevor Bates                                                      IC Subcontractor             -3,357.61                           -3,357.61
 12/05/2017 Trevor Bates                                                      Loan - Trevor Bates          -3,500.00            -3,500.00
 01/11/2018 Trevor Bates - Trailer                                            Loan - Trevor Bates          -3,357.61            -3,357.61


                                                                                                       -73,758.51        -70,400.90 -3,357.61
